                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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UNITED STATES OF AMERICA,
     Plaintiff,

vs.                                                                No. 2:23-cr-20191-MSN

EMMITT MARTIN, III,
      Defendant.
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  DEFENDANT EMMITT MARTIN’S RESPONSE IN OPPOSITION TO MOTION IN
               LIMINE FILED BY UNITED STATES GOVERNMENT
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       Comes now the defendant Emmitt Martin III, by and through his counsel of record William

D. Massey, of the LAW OFFICE OF MASSEY MCCLUSKY FUCHS & BALLENGER, to respond to the

Government’s motion in limine to preclude the use of inadmissible and improper character

evidence. In response, the Defendant respectfully requests this Honorable Court reserve the issue

of admissibility of prior bad acts until discovery and pretrial litigation has concluded in this matter.

Further the Defendant requests that the Court deny the Government’s request for any sort of gag

order or protective order on pretrial filings as an inappropriate restraint on the Defendant’s freedom

of speech and right to present a defense.

        This Court Should Consider Admissibility Of Prior Bad Acts Closer To Trial

       In its motion, the Government seeks a court order “excluding any improper reference to or

inadmissible evidence of Mr. Nichols’ alleged character or alleged prior violent acts” at trial. (R.

67, Motion in limine, ID 204.) With respect to the Government’s request to exclude this evidence

at trial, Mr. Martin concurs with Mr. Haley’s response to the Government’s motion. Mr. Martin,

like Mr. Haley, does not seek to introduce inadmissible evidence at trial and expects that the Court
will follow and enforce the applicable rules of procedure and evidence. Mr. Martin joins in Mr.

Haley’s contention that potential evidentiary disputes should not be addressed prematurely and

should be addressed at the appropriate time, after complete discovery has been provided and

investigations have been completed.

       A Restraint On Pretrial Filings Violates The Defendants’ And Their Attorneys’
                               Rights To Freedom Of Speech

       The Government’s request to prevent Mr. Martin and his codefendants from arguing their

cases in pretrial filings is far more alarming. The Government claims that “some of the defendants

have used discovery-related public filings in an apparent effort to attack the character of the

deceased victim in advance of trial.” (R. 67, Motion in limine, ID 212-213.) As a result, the

Government claims that “unsubstantiated and misleading information about the victim has appeared

in local and national media coverage.” (R. 67, Motion in limine, ID 213.) Finally, the Government

asserts that Mr. Martin’s codefendants “have made discovery requests that appear designed to seek

out additional information to attack the victim’s character.” (R. 67, Motion in limine, ID 213.) As

a remedy for these purported attacks, the Government seeks an order stating that “any and all

alleged ‘bad’ character information related to Tyre Nichols and discovered after January 7, 2023 is

considered irrelevant and inadmissible in this matter; accordingly, any reference to such

information is prohibited in publicly-filed pleadings and at trial.” (R. 67, Proposed order on motion

in limine, ID 217.) Such an order would not only be overbroad and premature: it would also violate

the defendants’ rights to free speech, to due process, and to present an effective defense.

       Mr. Martin agrees with, joins in, and incorporates by reference Mr. Haley’s response to the

Government’s motion. Specifically, Mr. Martin agrees with Mr. Haley’s assertion that the

Government’s motion is effectively a motion for a protective order. It is worth noting, first and

foremost, that the Government’s assertion that the actions of Mr. Martin’s co-defendants will
“invite nullification and taint the jury pool” strains credulity considering the numerous public

statements made by the Government in relation to this case, summarized by Mr. Haley in his

response. (R. 68, Demetrius Haley’s response, ID 220-221.) More significantly, however, a gag

order of the nature proposed by the Government would amount to a prior restraint on speech and

an infringement of Mr. Martin’s First Amendment rights.

       Under some circumstances, a court may issue gag orders to prevent prejudicial pretrial

publicity. Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991). However, “any restrictive order

involving a prior restraint upon First Amendment freedoms is presumptively void and may be

upheld only on the basis of a clear showing that an exercise of First Amendment rights will interfere

with the rights of the parties to a fair trial.” CBS v. Young, 522 F.2d 234 (6th Cir. 1975). The

circumstances where such an order is permissible are extremely limited: the Sixth Circuit requires

either a showing of clear and present danger or of a “serious and imminent threat” of interference

with a fair trial to justify a gag order on extrajudicial statements of trial participants. See U.S. v.

Ford, 830 F.2d 596, 598 (6th Cir. 1987). The Government has not made, and cannot make, such a

showing.

       Moreover, the entirety of the jurisprudence addressing the circumstances where gag orders

are permissible only addresses extrajudicial statements. See, e.g., Gentile v. State Bar of Nevada,

501 U.S. 1030 (1991). While pretrial filings may be accessible by the media, they are definitionally

not extrajudicial: rather, they are an integral part of the judicial process. A gag order preventing the

defendants from making good faith arguments in pretrial motions is openly at variance with both

the First, Fifth, and Sixth Amendments.

       The defendants, by arguing in pretrial motions that they are entitled to items they believe to

be discoverable, have complied with the Federal Rules of Criminal Procedure and the Tennessee
Rules of Professional Conduct. Rule 12 of the Federal Rules of Criminal Procedure provides that

“[a] party may raise by pretrial motion any defense, objection, or request that the court can

determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(1). A motion “must state the grounds

on which it is based and the relief or order sought.” Fed. R. Crim. P. 47(b). The Tennessee Rules

of Professional Conduct outline a lawyer’s professional responsibilities when asserting a claim in

court:

         A lawyer shall not bring or defend a proceeding, or assert or controvert an issue
         therein, unless after reasonable inquiry the lawyer has a basis in law and fact for
         doing so that is not frivolous, which includes a good faith argument for an
         extension, modification, or reversal of existing law. A lawyer for the defendant in
         a criminal proceeding, or the respondent in a proceeding that could result in
         incarceration, may nevertheless so defend the proceeding as to require that every
         element of the case be established.

TN R S CT Rule 8, RPC 3.1. Comment 2 to Rule 3.1 of the Rules of Professional Conduct provides

that “[t]he filing of an action or defense or similar action taken for a client is not frivolous merely

because the facts have not first been fully substantiated or because the lawyer expects to develop

vital evidence only by discovery.” TN R S CT Rule 8, RPC 3.1, Comment 2. While lawyers are

required to “act reasonably to inform themselves about the facts of their client’s case and the law

applicable to the case and then act reasonably in determining that they can make good faith

arguments in support of their client’s position,” “[s]uch an action is not frivolous even though the

lawyer believes that the client’s position ultimately will not prevail.” Id. The Government’s

allegations that the defendants are filing pretrial motions to attack Mr. Nichols’ character are

unjustified and unwarranted. The defendants have done nothing other than assert good faith

arguments for which there is a basis in law and fact, as they are allowed to do under the applicable

rules.
   Bad Acts Would Be Discoverable Pursuant To Brady v. Maryland. The Government’s
 Proposed Order Would Prohibit The Defendant Asserting His Paramount Constitutional
       Right To Request Favorable Evidence If It Is Withheld By the Government.

       The State’s proposed order, which would prohibit Mr. Martin and his codefendants from

making specific, particularized requests for discovery and Brady material if these requests include

any reference or allusion to “alleged ‘bad’ character information,” would hamstring the

defendants’ ability to ensure that the Government complies with its duty to disclose favorable

evidence. Brady v. Maryland and its progeny establish that the Government violates a defendant’s

due process rights if it withholds evidence that is favorable to the defense and material to the

defendant’s guilt or punishment. 373 U.S. 83 (1963). Certain evidence is “so clearly supportive of

a claim of innocence” that the Government obviously has a duty to disclose it. U.S. v. Agurs, 427

U.S. 97, 107 (1976). However, the Government may not necessarily be aware of the defense’s

theory of the case or trial strategy: in these situations, a specific, particularized request for Brady

material puts the prosecution on notice that the defense believes certain evidence would be helpful

or favorable. Federal case law has long recognized a practical distinction between specific and

general requests for Brady material: for example, in United States v. Bagley, the Supreme Court

acknowledged that “the more specifically the defense requests certain evidence, thus putting the

prosecutor on notice of its value, the more reasonable it is for the defense to assume from the

nondisclosure that the evidence does not exist, and to make pretrial and trial decisions on the basis

of this assumption.” 473 U.S. 667, 682-683 (1985).

       The Government’s proposed order would prevent the defendants from making specific,

particularized requests for information related to Mr. Nichols’s state of mind on January 7, 2023.

While the Government argues that this information would be inadmissible (and again, this

assertion is premature), information need not necessarily be admissible to be favorable and
material under Brady. In the Sixth Circuit, information is material under Brady not only if it would

have been admissible at trial, but also if it “would have led directly to admissible evidence.” Gumm

v. Mitchell, 775 F.3d 345, 363 (6th Cir. 2014). The Government’s duty to disclose encompasses

inadmissible evidence if the information appears likely to lead to the discovery of admissible

evidence. Therefore, the Court should not conclude at this early stage of the case that information

related to Mr. Nichols’ state of mind cannot be material and favorable to the defense and should

certainly not prohibit the defense from making particularized requests for Brady material in pretrial

filings.

                    Limiting The Defendants’ Ability To File Pretrial Motions
            Is A Direct Violation Of The Defendants’ Right To Effectively Present A Defense


           Mr. Martin and his codefendants are guaranteed the right to present a complete defense

under the Fifth and Fourteenth Amendments to the United States Constitution. The right to present

a defense “is, in essence, the right to a fair opportunity to defend against the State’s accusations.”

Chambers v. Mississippi, 410 U.S. 284, 294 (1973). The Government repeatedly asserts in its

filings that the government must show that the defendants used an objectively unreasonable

amount of force while arresting Mr. Nichols, and that the objective reasonableness inquiry assesses

only “reasonableness at the moment” in light of “the facts and circumstances confronting [the

defendants].” (R. 67, Motion in limine, ID 208.) However, in outlining the factual background of

the case, the Government asserts that:

           [a]ccording to the officers, they stopped Nichols because he was speeding and
           committing traffic infractions. Officers pulled Nichols from his car and used force
           on him following the traffic stop. Nichols, as captured on body-worn camera
           footage, protested that the officers were “doing a lot” and said that he was “just
           trying to go home.”

R. 67, Motion in limine, ID 208. The Government also asserts that, after Mr. Nichols ran from the
scene and the defendants apprehended him, “[a]s the defendants used force against Nichols, he

yelled for his mother.” (R. 67, Motion in limine, ID 208-209.) The Government’s filings echo two

critical elements of the persistent media narrative surrounding this case: first, that – contrary to the

officers’ assertions – there was no proof that Mr. Nichols was driving recklessly and that the traffic

stop was unlawful.1 The Government also strongly suggests – if not overtly states – in its motion

in limine that Mr. Nichols only ran from the scene of the traffic stop because he was terrified of

the defendants and just wanted to make it home to his mother. Investigation and discovery

materials provided to date appear to provide a strong and credible alternative to the Governments

claims of why Mr. Nichols did not want to be apprehended and why he resisted and ran.

        Mr. Martin has a constitutional right to defend against the State’s accusations. Mr. Martin

anticipates that the Government will suggest, imply, or overtly argue at trial that Mr. Nichols ran

from the scene of the initial traffic stop because he was in fear of the officers and was just trying

to make it home. The Government may not need to explain why Mr. Nichols ran from the scene

of the initial traffic stop to prove the offenses alleged in the indictment – however, the

Government’s explanation of why Mr. Nichols ran is integral to its overall theory of the case. Mr.

Martin, in turn, should not be prevented from investigating the veracity of the Government’s theory

and attempting to rebut it.

                                                 Conclusion

        The Court will ultimately determine whether any information proffered by the defendants

regarding alternative explanations for Mr. Nichols’ conduct on January 7, 2023, is relevant and


1 It has been widely reported that Memphis Police Department Chief Cerelyn “CJ” Davis told CNN on January 27,
2023, that MPD was “unable to substantiate” the defendants’ claim that Mr. Nichols was driving recklessly. Alisha
Ebrahimji, What we know – and still don’t know – about what led to Tyre Nichols’ death, CNN, Jan. 28, 2023, What
we know -- and still don't know -- about what led to Tyre Nichols' death | CNN.
Further, the Government has not provided Mr. Martin with footage from the Sky Cop recordings along the route that
preceded the first stop.
admissible at trial. Mr. Martin should not be prohibited at this early stage of the case from lawfully

attempting to obtain information through the discovery process. Mr. Martin should not be

prevented from asserting good faith arguments in pretrial filings, as such a restriction would

amount to an unconstitutional prior restraint on Mr. Martin’s rights to free speech, to due process,

and to present a defense.

       Respectfully submitted this 26th day of October 2023.


                                                      THE LAW OFFICE OF MASSEY
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                                                      s/ William D. Massey
                                                      B.P.R. No. 9568



                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I filed a copy of the foregoing Response to the

Governments Motion In Limine via the Court’s Electronic Filing System which sends notification

to all parties. This Response was filed on the 26th day of October 2023.



                                                      s/ William D. Massey
